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 1
                                                                   Honorable Thomas S. Zilly
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                                    U.S. DISTRICT COURT
10
                          FOR THE WESTERN DISTRICT OF WASHINGTON
11
     STRIKE 3 HOLDINGS, LLC,                )       Case No.: 2:17-cv-01731-TSZ
12                                          )
             Plaintiff,                     )
13                                              COUNTERCLAIMS OF DEFENDANT
                                            )
     vs.                                    )   JOHN DOE subscriber assigned IP
14
                                            )   address 73.225.38.130
15   JOHN DOE subscriber assigned IP        )
     address 73.225.38.130,                 )
16                                          )
             Defendant.                     )   DEMAND FOR JURY TRIAL
17                                          )
18   ______________________                 )
                                            )
19                                          )
     JOHN DOE subscriber assigned IP
                                            )
     address 73.225.38.130,
20                                          )
                                            )
21         Counterclaimant,
                                            )
     vs.
                                            )
22
                                            )
     STRIKE 3 HOLDINGS, LLC,
23                                          )
                                            )
           Counterdefendant.
24                                          )
                                            )
25                                          )
26




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 1
     COMES NOW, the Defendant/Counterclaimant, JOHN DOE subscriber assigned IP address
 2   73.225.38.130 (“DOE”) by and through its counsel of record, hereby counterclaims against
 3   Plaintiff STRIKE 3 HOLDINGS, LLC, (“S3H”) on the grounds and praying for the relief

 4
     hereinafter set forth and further files these counterclaims:

 5
                             COUNTERCLAIMS OF THE DEFENDANT
 6                      By JOHN DOE subscriber assigned IP address 73.225.38.130

 7
            1.        This lawsuit is premised on two flawed principles. First that the monitoring
 8
     software used to detect the “infringers” is accurate. Second, even if the infringements passed
 9   through an IP address, that they can pinpoint the individual with any accuracy due to the nature of
10   the technology involved.

11          2.        Further, not a single individual involved in the investigation of the alleged
     infringements is a licensed private investigator in the State of Washington.
12
            3.        DOE is a retired ex-cop whose beat was in the Seattle area. He is in his 70’s and
13
     is married. He spent his life protecting law abiding citizens against criminals, now he must deal
14
     with this frivolous lawsuit.
15

16                         Count I – Declaratory Judgment of Non Infringement
            4.        DOE realleges paragraphs 1-3 above as fully set forth herein.
17
            5.        S3H has accused DOE of infringement of a number of copyrighted works that they
18
     allegedly own.
19
            6.        DOE’s did not infringe the works at issue in this case, or any works marketed under
20   the Vixen, Tushy, and Blacked, websites.
21          7.        A case and controversy now exists between S3H and DOE regarding the alleged

22   infringement of the works at issue.
            8.        DOE requests that the Court entered a judgment that DOE did not infringe any of
23
     the works owned by S3H.
24

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 1
                          Count II – Negligent Infliction of Emotional Distress
 2
            9.       DOE realleges paragraphs 1-8 above as fully set forth herein.
 3          10.      S3H’s software and infringement detection methodology is untested, inaccurate,
 4   and cannot determine an infringer with any known accuracy.
 5          11.      Despite knowing the inaccurate nature of their infringement detection and
     identification system, S3H has sued hundreds of defendants.
 6
            12.      S3H has a duty of care before filing to ensure that they can identify an infringer
 7
     with sufficient accuracy to avoid naming innocent parties.
 8
            13.      It is reasonably foreseeable that when people are inaccurately identified and then
 9   subjected to the legal system, they would have emotional distress.
10          14.      DOE was improperly identified.

11          15.      DOE suffered emotional distress which was a direct and foreseeable result of the
     improper identification by Plaintiff’s software and infringement detection methodology.
12

13
                                           Count III – Outrage
14
            16.      DOE realleges paragraphs 1-15 above as fully set forth herein.
15          17.      S3H’s software and infringement detection methodology is untested, inaccurate,
16   and cannot determine an infringer with any known accuracy.
            18.      Despite knowing the inaccurate nature of their infringement detection and
17
     identification system, S3H has recklessly sued hundreds of defendants.
18
            19.      S3H has a duty of care before filing to ensure that they can identify an infringer
19
     with sufficient accuracy to avoid naming innocent parties.
20          20.      There is a high degree of probability that when people are inaccurately identified
21   and then subjected to the legal system, they would have emotional distress, despite this S3H

22   proceeded in a deliberate disregard in a reckless manner
            21.      DOE was improperly identified.
23
            22.      DOE suffered emotional distress which was a direct and foreseeable result of the
24
     improper identification by S3H’s software and infringement detection methodology.
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                                   DOE’S PRAYER FOR RELIEF
 1
     DOE respectfully prays and judgment entered as follows:
 2

 3                     COUNT I – Declaratory Judgment of Non Infringement
 4          A. That S3H’s claims for infringement be denied in their entirety and take nothing;
 5          B. DOE is the prevailing party under the Copyright Act;
            C. DOE be entitled to statutory attorney fees under the Copyright Act;
 6
            D. DOE be entitled to costs of suit; and
 7
            E. DOE be entitled to any other relief that this Court may allow.
 8

 9                      COUNT II – Negligent Infliction of Emotional Distress
10          A. Non-economic Damages of at least $ 5,000.00; and

11          B. Attorney fees as allowed per statute, and
            C. DOE be entitled to costs of suit; and
12
            D. DOE be entitled to any other relief that this Court may allow.
13

14
                                         COUNT III – Outrage
15          A. Non-economic Damages of at least $ 7,500.00; and
16          B. Attorney fees as allowed per statute, and
            C. DOE be entitled to costs of suit; and
17
            D. DOE be entitled to any other relief that this Court may allow.
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                                                 Respectfully submitted,
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21   Dated: March 8, 2018                        /s/ J. Curtis Edmondson
                                                 Attorney for DOE
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                                      CERTIFICATE OF SERVICE
 1
            I, J. Curtis Edmondson, hereby certify that on March 8, 2018, I electronically filed the
 2
     foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 3
     such filing to the following:
 4

 5                  Bryan J. Case, WSBA #41781
                    Email: bcase@foxrothschild.com
 6
                    FOX ROTHSCHILD LLP (SEATTLE)
 7                  1001 Fourth Avenue, suite 4500
                    Seattle, Washington 98154
 8                  Telephone: (206) 624-3600

 9                  Lincoln D. Bandlow, Admitted Pro Hac Vice
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                    FOX ROTHSCHILD LLP (LOS ANGELES)
11                  10250 Constellation Blvd., Suite 900
                    Los Angeles, California 90067
12                  Telephone: (310) 598-4150

13                  Attorneys for Plaintiff Strike 3 Holdings LLC

14

15          DATED this 8th day of March, 2018.

16

17                                           By:     /s/ J. Curtis Edmondson
                                                   J. Curtis Edmondson
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